IN AND FOR THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

(U.S. District Court, 709 W. 9th Street, Rm 979, Juneau, AK 99801)

 

Ronald Satish Emrit,
6655 38th Lane East,
Sarasota, FL 34243
(301)537-8471
Plaintiff (Pro Se)

 

C.A.Noz_V\A-Cvr (2003-84

George Soros,
% Open Society Foundations
224 West 57th Street
New York, NY 10019
+1-212-548-0600

rederal Communications
Commission (FCC),

445 12th Street, SW Washington,
DC 20554

1-888-CALL FCC (225-5322).
PRA@fec.gov

 

Federal Trade Commission

(FTO),
600 Pennsylvania Avenue, NW

PO a
NM. NN NN Nt es a eee i Ss ssf set sac Beet nce Bee

ae

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 1 of 19
Washington, DC 20580 )

(202) 326-2222 )
)
)

& Securities Exchange )

Commission (SEC) )
Office of Investor Education )
and Advocacy 100 F Street, )
NE Washington, DC 20549-0213)
(800) 732-0330, )

)

)

 

SOROS RSI ROR AACR HOR OR OOOO FORK AI HAA OA AH AR AAR AAA AEA BAA EAE FE EE IE EE

COMES NOW, the plaintiff Ronald Satish Emrit, who is bringing these causes of
action against the defendants. The plaintiff fully expects that his law school classmate
Paven Liberty, Esquire of Miami-Dade County, FL will be making a “Notice of
Appearance of Counsel” if and when discovery is compelled by the magistrate judge
and/or presiding judge in the particular case at bar. In bringing forth these causes of
action, the plaintiff states, avers, and alleges the following:

L) NATURE OF THE CASE

1.) With regards to tortious acts, the plaintiff alleges that at least one of the three
defendants (i.2. billionaire philanthropist and investor George Soros) has
committed the tortious interference with business relations/contracts by trying
to annoy, threaten, or harass facebook, Amazon, Google, (and other Silicon
valley companies) by manipulating the stock market through “short-swing
trading” of their stocks in violation of Rule 16(b) of the Securities Exchange
Act of 1934. Let it be known that the self-proclaimed “Ogmios” (of
Nostradamus’ famous quartets and the opposite of “Mabus”) aka Saint Ronald

of Soapstone (SROS) states that “By increasing the velocity of money, a nation

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 2 of 19
can incr its Gross Domestic Pr DP), reduce frictional lical, and

 

33 The
Bureau of Economic Analysis (BEA) under the Department of Commerce and
Bureau of Labor Statistics (BLS) under the Department of Labor measure
consumer price index (CPI) and the GDP deflator which are key benchmarks

that are correlated to inflation.

2.) By trying to get the Federal Communications Commission (FCC) and Federal
Trade Commission (FTC) to heavily regulate Facebook, Amazon, and Google
(among other “tech companies”), the plaintiff alleges that George Soros is
violating the Equal Protection Clause and Due Process Clause of the Fifth and
Fourteenth Amendments to the U.S. Constitution and The Privileges and
Immunities Clause (e.g. Article IV, Section 2, Clause 1 of the Constitution, te.
the Comity Clause).

3.) Although George Soros himself is a private citizen and a non-governmental
actor, he is using his wealth and influence to collude with state actors like the
FCC and FTC in a similar fashion that the Republican Koch Brothers attempt
to use their wealth to violate campaign finance laws and regulations
promulgated by the Federal Election Commission (FEC).

> 4.) Accordingly, the plaintiff is suing the defendant for forty million dollars (forty
million dollars) notwithstanding the Eleventh Amendment doctrine of
sovereign immunity and Federal Tort Claims Act (FTCA).

5.) The plaintiff believes in “good faith” that the governmental defendants (1.e. the
FCC and FTC as “state actors”) would agree to be sued for pecuniary damages
to ensure justice.

6.) Essentially, the plaintiff is seeking to assess joint and several liability to all three
of the defendants in which they are expected to seek contribution and
indemnity from each other through the filing of cross-claims based on
contributory negligence, pute comparative negligence, and/or modified
comparative negligence (although negligence is not one of the causes of action
being alleged by the plaintiff in the particulat case at bar).

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 3 of 19
eh.
fae

IL.) PARTIES TO THIS LITIGATION

7.) The plaintiff is an indigent, disabled, and unemployed resident of the state of
Nevada. His current mailing address is 6655 38th Lane East, Sarasota, FL 34243. His
cell phone number is currently (301)537-8471 and his ptimary email address ts
einsteinrockstat2@outlook.com. His secondary email address 1s

einsteinrockstar2@outlook.com.

8.) The first defendant is George Soros. His mailing address unknown and as a result
the plaintiff is requesting that the court in the present case at bar serve George Soros
through publication in a major newspaper in Connecticut where the plaintiff believes

that George Soros owns a mansion.

9,) The second defendant is the Federal Communications Commission. The mailing
address for the Federal Communications Commission (FCC) headquarters is the
following: 445 12th Street, SW Washin gton, DC 20554. The telephone number for the
Federal Communications Commission (FCC) headquarters is 1-888-CALL FCC
(225-5322). The email address for the FCC is PRA@fcc.gov. The Chairman of FCC
is Ajit Pai and his email address is Ajit.Pai@fcc.gov.

10) The third defendant is the Federal Trade Commission (FTC). Its mailing and
physical address is the following: 600 Pennsylvania Avenue, NW Washington, DC
20580. Its telephone number is (202) 326-2222.

14.) The fourth defendant is the Securities Exchange Commission (SEC). Its mailing
and physical address is the following: U.S. Securities and Exchange Commission
Office of Investor Education and Advocacy 100 F Street, NE Washington, DC
20549-0213. Its telephone number is (800) 732-0330 and fax nurnber is (202)
772-9295.

12.) According to Federal Rules of Civil Procedure 8(a)(1), Plaintiff is required to

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 4 of 19
ptovide "a short and plain statement of the grounds for the court’s jurisdiction, unless
the court already has jurisdiction and the claim needs no new jurisdictional support;”

13.) Because the court does not already have personal or subject matter jurisdiction
ovet this issue, it is necessary to engage in a brief discussion of the court's jurisdiction
so that the defendants can not move to dismiss this case based on procedural grounds
involving a lack of proper jurisdiction. |

14.) Pursuant to 28 U.S.C.A. Section 1332, the U.S. District Court for the District of
Alaska (as an Article III court) has jurisdiction over this matter because there is
complete diversity of jurisdiction between the Plaintiff and the five defendants.

15.) As an Article III court, the U.S. District Court for the District of Alaska also has
subject matter jurisdiction over the present case at bar because this proceeding
involves a discussion of the Equal Protection Clause, Due Process Clause, and
Privileges and Immunities Clause as it relates to various federal agencies.

16.) Venue in this jurisdiction is also proper pursuant to 28 U.S.C.A. Sections 1391
and 1400.

17.) Because the amount in controversy exceeds $75,000 (1c. $40,000,000,000 is
greater than $75,000), this court also has jurisdiction with regards to that particular

issue.

IV.) STATEMENT OF FACTS

18.) The Chief Operating Officer (COO) for Facebook is Sheryl Sandberg and the
Chief Executive Officer (CEO) is Mark Zuckerberg, ie. both Jewish executives like
the Hungarian-born George Soros.

19.) Therefore, George Soros can not call the Anti-Defamation League (ADL) and
claim that it is Anti-Semitic for both Sheryl Sandberg and Mark Zuckerberg to suspect
that George Soros is engaging in the short-swing trading of Facebook stock, which
had an initial public offering (IPO) valued at $38.00 per share several years ago.

20.) With regards to short-swing trading, an investor buys the stock at a higher price
and then sells the stock at a lower price for no other reason than to lower the book

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 5 of 19
value and/or fair market value (FMV) of the stock (similar to a potson-pill
transaction/mechanism with regatds to corporate takeovers, mergers, and

acquisitions).

21.) Ina “bull market,” the “bull” uses its “horns” to toss stock prices up while in a
“bear market,” the “bear” uses its claws to tear stock prices down.

22.) Therefore, George Sotos is creating a “bear market” if he is really maliciously
“shorting” Facebook stock as Sheryl Sandberg and Mark Zuckerberg suspect that he

is doing.

23.) Senior and junior analysts on Wall Street (with investment banks and brokerage
houses) engage in technical analysis and fundamental analysis to evaluate stock market
volatility in addition to utilizing the Capital Asset Pricing Model (CAPM), Arbitrage
Price Theory (APT), Black-Scholes Option Pricing Model and Hockey-Stick Diagram
(for evaluating “puts” and “calls” as options), and Net Present Value (NPY).

24.) George Soros’s attempts to “short” Facebook stock in particular could be
construed as a blatant violation of Rule 16(b) of the Securities Exchange Act of 1934
which would give tise to a prima facie case of negligence pet se if and only if (ff)
George Soros owed a duty of cate/loyalty and/or fiduciary duty to the plaintiff and
George Soros breached said fiduciary duty by shorting Facebook stock.

25.) George Soros also appears to be attempting to get Ajit Pai and Federal
Communications Commission (FCC) to heavily regulate Facebook users and
advertisements in addition to regulating other Silicon Valley companies which would
have a “chilling effect” on free speech.

26.) The Federal Trade Commission (FTC) has a Bureau of Economics and Bureau of
Consumer Protection but neither subdivision of FTC has jurisdiction to regulate
and/or penalize Silicon Valley companies because they are not engaging in deceptive
advertising or deceptive trade practices despite George Soros’s claim that these Silicon
Valley companies are sharing and/or trading the personal and private information of
consumers with each other and that Russian spies and hackers are obtaining the
encrypted information of American consumers in violation of the Privacy Act of 1974

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 6 of 19
and quite possibly the Espionage Act of 1917 and Alien and Sedition Acts.

V.) COUNT ONE: TORTIOUS INTERFERENCE WITH BUSINESS
RELATI TRA

27.) A plaintiff must establish four elements in order to state a ptima facie cause of

action for tortious interference with an existing contract:
a.) Existence of a valid contractual relationship or business expectancy;

b. Knowledge of the contractual relationship or expectancy by the defendant;
c.) Intentional interference inducing or causing a breach or termination of the

contractual relationship or expectancy; and

d.) Resultant damage to the party whose contractual relationship ot expectancy

has been disrupted.

28.) Accordingly, the plaintiff has commercially released the following four albums:
“Unleash the Beast,” “Welcome to Atlantis,” “Rough Draft of Publicity Stunts,” and
“The Very Best of Satish Dat Beast.”

29.) The aforementioned four albums have been distributed by the following digital
distribution companies: Ditto Music (of United Kingdom), Mondotunes (of
Huntington Beach, CA), CD Baby (of Portland, OR), Tunecore (of Brooklyn, NY).
Distrokid, and Loudr.

30.) The previously-mentioned distribution companies have distributed the plaintiff's

CD’s, mp3’s, ringtones, and music videos to virtual stores (with no physical

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 7 of 19
storefront) owned and operated by Amazon, Google (and its parent company

Alphabet), Apple Music/itunes, Spotify, Deezer, Tidal, Facebook, MySpace, etc..

31.) As such, it can be stated with substantial certainty that the plaintiff is in “privity

of contract” with the aforementioned Silicon Valley technology companies.

32.) As a result, it is a logical conclusion to say that George Soros is tortiously
interfering with the plaintiff's contracts/business relations (with Silicon Valley
companies) by attempting to manipulate the stock price of Silicon Valley companies
including but not limited to Apple, Google, Facebook, Amazon, Microsoft, Yahoo!,

etc..

33.) George Soros’s purchase of common, preferred, and/or treasury stock of Silicon
Valley companies (unwatered and well below par value) serves no legitimate purpose
other than to annoy, threaten, or harass Silicon Valley companies because of his
personal vendetta and/or agenda against the “young billionaire club” including Mark
Zuckerberg, Elon Musk, Jeff Bezos, etc..

34.) As a logical conclusion, George Soros’s attempts to annoy, threaten, or harass
Silicon Valley companies naturally has a negative effect on the sales of the plaintiff's
CD’s, mp3’s, ringtones, and music videos which are being sold on websites and virtual
stores owned and operated by Silicon valley tech companies including but not limited
to Apple, Google (and its parent company Alphabet), Amazon, Facebook, Spotify,
Deezer, Tidal, etc..

VIL) COUNT TWO; VIOLATION OF THE EQUAL PROTECTION
CLAUSE

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 8 of 19
35.) The Equal Protection Clause is part of the Fourteenth Amendment to the United
States Constitution. The clause, which took effect in 1868, provides that no state shall

deny to any person within its jurisdiction "the equal protection of the laws".

36.) A ptimary motivation for this clause was to validate the equality provisions

contained in the Civil Rights Act of 1866, which guaranteed that all people would
have tights equal to those of all citizens. As a whole, the Fourteenth Amendment
matked a large shift in American constitutionalism, by applying substantially more

constitutional restrictions against the states than had applied before the Civil War.

37.) The meaning of the Equal Protection Clause has been the subject of much
debate, and inspired the well-known phrase "Equal Justice Under Law". This clause
was the basis for Brown v. Board .f Education (1954), the Supreme Court decision that
helped to dismantle racial segregation, and also the basis for many other decisions

rejecting discrimination against people belonging to various groups.

38.) The Equal Protection Clause itself applies only to state and local governments.
However, the Supreme Court held in Bowing », Shai pe (1954) that equal protection
requirements apply to the federal government through the Due Process Clause of the
Fifth Amendment.

39.) Although it is a violation of the First Amendment right to freedom of speech and
association by trying to preclude and/or enjoin free speech on Facebook through
heavy FCC and FIC regulation, it is also a violation of the Equal Protection Clause
inherent from the Fifth and Fourteenth Amendments for George Soros, the FCC, and
FTC to try to regulate free speech on Facebook.

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 9 of 19
40.) This is a violation of the Equal Protection Clause because Americans in particular
have the implied fundamental right to congregate on Facebook and share their views

via Instant Messenger and/or Twitter-like newsfeeds.

41.) The Fifth and Fourteenth Amendments to the United States Constitution each
contain a due process clause. Due process deals with the administration of justice and
thus the due process clause acts as a safeguard from arbitrary denial of life, liberty, or
ptoperty by the Government outside the sanction of law.

42.) The Supreme Court of the United States interprets the clauses more broadly
because these clauses provide four protections: procedural due process (in civil and
criminal proceedings), substantive due process, a prohibition against vague laws, and
as the vehicle for the incorporation of the Bill of Rights. Due process ensures the
rights and equality of all citizens.

43.) The Supreme Court has interpreted the due process clauses in the Fifth and
Fourteenth Amendment identically, as Justice Felix Frankfurter once explained in a
concurring opinion: “To suppose that ‘due process of law’ meant one thing in the
Fifth Amendment and another in the Fourteenth is too frivolous to require elaborate
rejection.”In 1855, the Supreme Court explained that, to ascertain whether a process
is due process, the first step is to “examine the constitution itself, to see whether this

process be in conflict with any of its provisions...”

44.) Also in 1855, the U.S. Supreme Court said, "The words, ‘due process of law,’
wete undoubtedly intended to convey the same meaning as the words, ‘by the law of

the land;' in Magna Charta."And, the Court said this in the 1884 case of Husiado ».
Cat fornia.

Case 1:19-cv-00003-RRB Document 1 Filed 03/29/19 Page 10 of 19
45.) Due process of law in the [Fourteenth Amendment] refers to that law of the land
in each state which derives its authority from the inherent and reserved powers of the
state, exerted within the limits of those fundamental principles of liberty and justice
which lie at the base of all our civil and political institutions, and the greatest security
for which resides in the right of the people to make their own laws, and alter them at

their pleasure.

46.) Due process also applies to the creation of taxing districts, as taxation is a
deprivation of property. Due process typically requires public hearings prior to the

creation of a taxing district.

47.) The regulations and/or restrictions on the free speech of the plaintiff and other
Facebook users must be content-neutral and not content-based and must not have a
“chilling effect” on free speech. It must be the least-restrictive means of regulating
free speech or it is an egregious violation of the procedural and substantive due
process tights of the plaintiff and other members of a proposed class action pursuant

to Rule 23 of the Federal Rules of Civil Procedure (FRCP).

48,) It is almost as if George Soros is trying to lobby Congress (similar to the Koch
brothers and their Republican agenda with regards to circumventing FEC laws) to
enact new legislation and/or rules enabling provisions that would allow the FCC and
FTC to regulate Facebook and/or assess penalties merely for allowing foreign

companies to advertise on the Facebook platform/website.

XVL) COUNT TWELVE: VIOLATION OF THE PRIVILEGES AND
IMMUNITIES CLAUSE

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 11 of 19
49.) In the federal circuit court case of Cazfied v, Co, yell, Justice Bushrod Washington
wrote that the protections provided by the clause are confined to privileges and
immunities which are, "in their nature, fundamental; which belong, of right, to the
citizens of all free governments; and which have, at all times, been enjoyed by the
citizens of the several states which compose this Union, from the time of their

becoming free, independent, and sovereign."

50.) In his explanation of the scope of the rights protected by the clause, Justice
Washington included the right to travel through states, the right of access to the
courts, the right to purchase and hold property, and an exemption from higher taxes

than state residents pay.

51.) The Cu fied case involved the rights of an out-of-state citizen, rather than the
rights of an in-state citizen, and Justice Washington's opinion did not suggest that this

provision of the Constitution addresses how a legislature must treat its own citizens.

52.) Another pertinent federal circuit court case was decided by Justice Henry
Baldwin, who succeeded Justice Washington. In the case of Magi x, Brown, Justice
Baldwin addressed the Privileges and Immunities Clause: "We must take it therefore
as a grant by the people of the state in convention, to the citizens of all the other

states of the Union, of the privileges and immunities of the citizens of this state."

53.) The plaintiff argues that all five of the defendants have committed a blatant
violation of the Privileges and Immunities Clause of Article IV, Section 2, Clause 1 of

the U.S. Constitution (i.e., the Comity Clause).

54.) Mote specifically, the three defendants have violated the Privileges and
Immunities Clause by conspiring and/or colluding to heavily regulate and/or penalize

Silicon Valley companies merely for sharing the information of Facebook users when

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 12 of 19
Facebook users have offered their implied consent to have their personal information
shared simply by entering their personal and private information on a website heavily
monitored by government agencies (other than FCC and FTC). If the FBI, CLA, and
other law enforcement/intelligence agencies are already monitoring Facebook to
gather information about persons of interest in their own investigations, why would

the FCC and FTC be needed as an extra layer of protection?

55.) In fact, the FCC and FTC may impose regulations on Facebook users and
advertisers which would essentially “get in the way” and/or obstruct the FBI’s ability
to gather information about persons of interest/suspects who ate willing to divulge a
plethora of information about themselves notwithstanding their 4th Amendment

tights to privacy and the Privacy Act of 1974.

XVIL) COUNT THIRTEEN: VIOLATION OF THE AMERICANS WITH
DISABILITIES ACT OF 1990 (ADA)
56.) The Americans with Disabilities Act of 1990 (42 U.S.C. § 12101) is a US labor law
that prohibits unjustified disctimination based on disability. It affords similat
protections against discrimination to Americans with disabilities as the Civil Rights
Act of 1964,which made discrimination based on race, religion, sex, national origin,

and other characteristics dlegal.

57.) In addition, unlike the Civil Rights Act, the ADA also requires covered employers
to provide reasonable accommodations to employees with disabilities, and imposes

accessibility requirements on public accommodations.

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 13 of 19
58.) In 1986, the National Council on Disability had recommended enactment of an
Americans with Disabilities Act (ADA) and drafted the first version of the bill which

was introduced in the House and Senate in 1988.

59.) The final version of the bill was signed into law on July 26, 1990, by President
George H. W. Bush. It was later amended in 2008 and signed by President George W.
Bush with changes effective as of January 1, 2009.

60.) The plaintiff is disabled due to the fact that he has been diagnosed with
Post-Traumatic Stress Disorder (PTSD), bipolar disorder/manic depression, and

schizoaffective disorder.

61.) The plaintiff argues that it is therapeutic for him to get on Facebook (FB) and be
able to have access to his friends and his support network since the plaintiff is unable
to work in an office and/or warehouse setting in which the interaction with other
employees, managers, and/or customers would provide a normalized setting for

personal interaction and healthy communications.

62.) While some argue that “gamers” and social media users lack effective personal
and face-to-face communication skills because of the fact that they are on the
computer all day (or checking their Androids/iphones), it is safe to say that computers

and cellphones are the future of civilization.

63.) It is a denial of reality to pretend that technology, software, social media, and
video games are going to “go away” or magically disappear in favor of old-fashioned

brick-and-mortar stores with physical storefronts.

64.) Pursuant to Rule 201 of the Federal Rules of Evidence (FRE), the court should
take judicial notice that Amazon teally put Toys R Us out of business, Netflix put

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 14 of 19
Blockbuster out of business, and YouTube/Vevo ate putting MTV and Viacom out

of business.

65.) It may be closer to the truth that George Soros is trying to get the FCC and FTC
to regulate Facebook more intensively due to the fact that Facebook, Amazon,
Netflix, and Google might be negatively affecting the stock of companies that he
owns which may have an older-fashioned brick-and-mortar location with a physical

storefront (rather than a virtual marketplace online as with Amazon and Google Plus).

X.) COUNT SIX: VIOLATION OF TITLE VIL OF THE CIVIL RIGHTS
ACT OF 1964

66.) Title VII of the Civil Rights Act of 1964 (Pub. L. 88-352) (Title VII), as amended,
appears in volume 42 of the United States Code, beginning at section 2000e. Title VIT
prohibits employment discrimination based on race, color, religion, sex and national

origin.

67.) The Civil Rights Act of 1991 (Pub. L. 102-166) (CRA) and the Lily Ledbetter Fair
Pay Act of 2009 (Pub. L. 111-2) amend several sections of Title VII. In addition,
section 102 of the CRA (which is printed elsewhere in this publication) amends the
Revised Statutes by adding a new section following section 1977 (42 U.S.C. 1981), to
provide for the recovery of compensatory and punitive damages in cases of
intentional violations of Title VII, the Americans with Disabilities Act of 1990, and
section 501 of the Rehabilitation Act of 1973.

68.) While George Soros is not a government or state actor, he has a tremendous on
governmental entities like the FCC and FTC similar to the way that the infamous
Koch Brothers have an influence on the FEC through the stare decisis of FEC v.
Citizens Union.

69.) As such, it can be stated that George Soros should also be held financially liable
for any damages incurred (or to be incurred in the future) by the plaintiff for

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 15 of 19
regulatory actions taken by the FCC and FTC which would also violate the Dormant
Commerce Clause since Congress has plenary power over interstate commerce.

70.) Facebook, Amazon, and Google play a major role in interstate commerce since
the nature of their online platforms indicates that international users can access these
websites from wherever their physical location might be.

71.) Since the plaintiff is disabled and his access to the business, financial, social, and
political world is facilitated through websites such as Amazon, Google, and Facebook,
it can be stated with substantial certainty (and certainly not down the proverbial
“slippery slope”) that George Soros is violating the plaintiffs civil rights (nherent
from Title VII) by trying to encourage and/or lobby Congtess to impose new
regulations in the Code of Federal Regulations (CFR) and/or Federal Register
essentially acting as rules enabling provisions allowing the FTC and FCC to heavily
regulate Facebook, Amazon, and Google.

XVIIL) PRAYER FOR RELIEF

WHEREFORE, the plaintiff has brought this cause of action against the four
defendants who have committed the tortious interference with business
relations/contracts and particularly the first defendant, ie. George Soros, who has
manipulated Facebook, Amazon, and Google stock in violation of Rule 16(b) of the
Securities Exchange Act of 1934. Accordingly, the plaintiff is alleging that he should
be entitled to damages in the amount of $40,000,000,000 (forty billion dollars). The
plaintiff is also requesting the equitable remedy of an injunction in the form of a
“cease and desist order” in which particularly the first defendant, i.e. George Soros, is
precluded and/or enjoined from being able to engage in the “short-swing trading” of
Facebook, Google, or Amazon stock in which his ulterior motive is to annoy,
threaten, or harass the executives of these companies which he has compared to
cartels and casinos. Furthermore, the plaintiff argues that George Soros (even as a

non-governmental actor) is violating the Equal Protection Clause, Due Process

Case 1:19-cv-00003-RRB Document 1 Filed 03/29/19 Page 16 of 19
Clause, Privileges and Immunities Clause, Title VII of the Civil Rights Act of 1964,
and the Americans with Disabilities Act of 1990 (ADA). To clarify, George Soros
may have political “clout” like the Koch Brothers given that he has the opportunity to
“throw” his money around and to influence the government (as if he is a
quasi-governmental entity). In establishing this “prayer for relief,” the plaintiff states,

avers and alleges the following:

A.) The plaintiff is seeking $40,000,000,000 (forty billion dollars) damages in the form
of punitive, compensatory, treble, actual, special, and presumed damages from the
defendant’s commission of the aforementioned tortious interference with business
relations/contracts. This $40,000,000 judgment would also be appropriate given that
the plaintiff alleges that the defendants have violated his Equal Protection Rights and
Due Process Rights, and have violated Title VII of the Civil Rights Act of 1964, the
Americans with Disabilities Act of 1990 (ADA), and the Privileges and Immunities

Clause.

B.) While punitive damages ate disallowed by the common law of contracts,
Restatement (Second) of Contracts and/or the Uniform Commercial Code Article 2
dealing with the sale of goods in excess of $500.00 (in which the Statute of Frauds
would be applicable), the plaintiff is also seeking $40,000,000,000 (forty billion dollars)
of damages in the form of expectation, reliance, restitution, incidental, and
consequential damages for the material breach of contract if and only if (iff) Silicon
Valley companies such as Amazon, Google, and Facebook cease “doing business”
with the plaintiff because their stock has plummeted in NASDAQ, NYSE, or S&P
500 because George Soros has engaged in the “short-swing tradin ” of their stocks

and derivatives in violation of Rule 16(b) of the Securities Exchange Act of 1934.

Case 1:19-cv-00003-RRB Document 1 Filed 03/29/19 Page 17 of 19
C.) The plaintiff is also seeking the equitable remedy of an injunction which would
preclude and/or enjoin the defendant George Soros from engaging in the
“short-swing trading” of the stock of Facebook, Google, and/or Amazon for the
exptess purpose of trying to annoy, threaten, or harass the executives of these Silicon

Valley “tech” companies which he has unjustly compared to casinos and cartels.

H.) The concepts of unjust enrichment and quantum metuit may also be applicable to

the present case at bar.

 

Respectfully submitted,
Ronald Satish Emrit
6655 38th Lane East
Sarasota, FL 34243

(301)537-8471
sasteinrockstar@ 1

i. 4

Case 1:19-cv-00003-RRB Document1 Filed 03/29/19 Page 18 of 19
Lolaar lt S

Aran

200
ANE 1

og Ls

1 govisod ’sN

aL L
ee J

ae 44

ie W/o eS

ae

ees

tec od f

o
a
=
oO
o
a
®
Do
©
oO
o
a
—
Oo
N
—
©
oO
TC
2
i
a
_
Cc
O°
=
5
oO
oO
QA
a
Oo
a

cv-00003-

Case 1:19

 
